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AO 245B (Rev. 11/16) Judgment in a Criminal Case
          Sheet 1



                                        United States District Court
                                                   District Of South Dakota, Western Division

               UNITED STATES OF AMERICA                                          JUDGMENT IN A CRIMINAL CASE
                                 V.



                           Roger Janis                                           Case Number:             5:16CR50080-1

                                                                                USM Number:               06951-073

                                                                                Erin Bolinger
                                                                                 Defendant's Attorney
THE DEFENDANT:

B pleaded guilty to count{s)       1 ofthe Indictment

□ pleaded nolo contendere to count(s)
   which was accepted by the Court.

□ was found guilty on count(s)                                                     FILED
   after a plea of not guilty.
                                                                                   MAY 12 2017
The defendant is adjudicated guilty of these offenses:
Title & Section                               Nature of Offense                                ^CURK            Offense Ended      Count
18U.S.C. §§ 1112 and 1153                     Involuntary Manslaughter                                          05/22/2016            1




The defendant is sentenced as provided in pages 2 through 7 of this Judgment. The sentence is imposed pursuant to the Sentencing Reform
Act of 1984.

□ The defendant has been found not guilty on count(s)

□ Count(s)                                                                         □ is □ are dismissed on the motion of the United States.

It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence, or
mailing address until all fines, restitution, costs, and special assessments imposed by this Judgment are fully paid. If ordered to pay
restitution, the defendant must notify the Court and United States attomey of material changes in economic circumstances.

                                                                         05/12/2017
                                                                         Date of Imposition of Judgment




                                                                                  of Judge




                                                                         Jeffrey L. Viken, Chief Judge
                                                                         Name and Title of Judge




                                                                         Date
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AO 245B (Rev. 11/16)Judgment in Criminal Case
          Sheet 2 — Imprisonment


DEFENDANT:                    Roger Janis
CASE NUMBER:                  5:16CR50080-1



                                                              IMPRISONMENT


      I    The defendant is hereby committed to the custody ofthe United States Bureau ofPrisons to be imprisoned for a
           total terra of:    60 months.




      □    The Court makes the following recommendations to the Bureau of Prisons:




      B    The defendant is remanded to the custody of the United States Marshal.

      □    The defendant shall surrender to the United States Marshal for this district:

          □       at                              □     a.m.    □     p.m.     on

          □       as notified by the United States Marshal.


      □    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          □       before 2 p.m. on

          □       as notified by the United States Marshal.

          □       as notified by the Probation or Pretrial Services Office.

                                                                    RETURN

Ihave executed this Judgment as follows:




          Defendant delivered on                                                         to

 at           .                                      >with a certified copy of this Judgment.


                                                                                                   UNITED STATES MARSHAL



                                                                              By

                                                                                                DEPUTY UNITED STATES MARSHAL
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A0 245B   (Rev. 11/16)Judgment in a Criminal Case
          Sheet 3 — Supervised Release

DEFENDANT:                   Roger Janis
CASE NUMBER:                 5:16CR50080-1

                                                        SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of:              3 years.


                                                    MANDATORY CONDITIONS
 1. You must not commit another federal, state, local, or tribal crime.
2. You must not unlawfully possess a controlled substance.
3. You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
          □         The above drug testing condition is suspended, based on the court's determination that you
                    pose a low risk of future substance abuse. (Check, if applicable.)
4.   ■ You must cooperate in the collection ofDNA as directed by the probation officer. (Check, ifapplicable.)
5. □ You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as
     directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which you reside, work,
          are a student, or were convicted of a qualifying offense. (Check, if applicable.)
6. □ You must participate in an approved program for domestic violence. (Check, if applicable.)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AO 245B (Rev. 11/16)Judgment in a Criminal Case
          Sheet 3A — Supervised Release


 DEFENDANT:                 Roger Janis
 CASE NUMBER:               5:16CR50080-1

                                          STANDARD CONDITIONS OF SUPERVISION
 As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
 because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
 officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

 1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
    release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
     frame.

 2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
     when you must report to the probation officer, and you must report to the probation officer as instructed.
 3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
     court or the probation officer.
 4. You must answer truthfully the questions asked by your probation officer.
 5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
    arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
    the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
     hours of becoming aware of a change or expected change.
 6. You must allow the probation officer to visit you at reasonable times, at your home or elsewhere, and you must permit the probation
    officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
 7. You must work full time (at least 30 hours per week) at a lawful type ofemployment, unless the probation officer excuses you from
    doing so. If you do not have full-time employment you must try to find fiill-time employment, unless the probation officer excuses
    you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
    responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
    days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming
     aware of a change or expected change.
 8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
    convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission ofthe
     probation officer.
 9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
 10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
     designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
 11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
     first getting the permission ofthe court.
 12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
     require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm ^at you have notified the person about the risk.
 13. You must follow the instructions ofthe probation officer related to the conditions of supervision.


U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy ofthis judgment
containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised Release
Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                      Date
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AO 245B    (Rev. 11/16)Judgment in a Criminal Case
            Conditions ofSupervision


DEFENDANT:                  Roger Janis
CASE NUMBER:                5:16CR50080-1


                                       SPECIAL CONDITIONS OF SUPERVISION



    1. You must participate in a program approved by and at the direction ofthe probation office for treatment of substance abuse.

   2. You must not consume any alcoholic beverages or intoxicants. Furthermore, you must not frequent establishments whose
          primary business is the sale of alcoholic beverages.

   3. You must submit a sample of your blood, breath, or bodily fluids at the discretion or upon the request ofthe probation office.
                                                     J



   4. You must participate in and complete a cognitive behavioral training program as directed by the probation office.
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AO 245B (Rev. 11/16) Judgment in a Criminal Case
        Sheet 5 — Criminal Monetary Penalties


DEFENDANT:                         Roger Janis
CASENUMBER:                       5:16CR50080-1                                           ^   -


                                             CRIMINAL MONETARY PENALTIES

      You must pay the total criminal monetary penalties under the Schedule ofPayments on Sheet 6.

                    Assessment                     JVTA Assessment*        Fine                          Restitution
TOTALS              jjQQ                           Not applicable          Waived                        Deferred

I       The determination of restitution is deferred for 90 days.
        An Amended Judgment in a Criminal Case(A0245C) will be entered after such determination.

□       You must make restitution (including community restitution) to the following payees in the amount listed below.

        If you make a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in the
        priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
        before the United States is paid.

Name of Payee                                               Total Loss**          Restitution Ordered             Priority or Percentage




TOTALS


□       Restitution amount ordered pursuant to Plea Agreement $

□       You must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
        fifteenth day after the date of the Judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 maybe subject
        to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

□       The Court determined that you do not have the ability to pay interest and it is ordered that:

        □      the interest requirement is waived for the      □    fine    □      restitution.

        □      the interest requirement for the     □       fine    □      restitution is modified as follows:




 * Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
 ** Findings for the total amount of losses are required under Chapters 109A, 110, llOA, and 113A of Title 18 for offenses committed on
 or after September 13, 1994, but before April 23,1996.
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A0245B    (Rev. ll/I6)JudgmentinaCriminalCase
           Sheet 5 — Schedule ofPayments


DEFENDANT:                         Roger Janis
CASE NUMBER:                       5:16CR50080-1


                                                        SCHEDULE OF PAYMENTS

Having assessed your ability to pay, payment ofthe total criminal monetary penalties is due as follows:

A    ■       Lump sum payment of$ 100                          due immediately, balance due

           □      not later than                                    , or

           □       in accordance with      □       C,   □      D,       □      E, or   □     F below; or


B    □       Payment to begin immediately (may be combinedwith                 DC,         □     D, or      □ F below); or

C    □ Payment in equal                                 ^ weekly, monthly, quarterly) installments of $                     ,
             to commence                       ^                             iO or         after the date of this Judgment; or

D    □       Payment in equal                            weekly, monthly, quarterly) installments of $                      ,
             to commence                                                (e.g., 30 or 60 days) after release from imprisonment to a
             term of supervision; or

             Payment of the total restitution and other criminal monetary penalties shall be due in regular quarterly installments of 50% of the
E    □
             deposits in the defendant's imnate trust account while the defendant is in custody, or 10% of the defendant's inmate trust account
             while serving custody at a Residential Reentry Center. Any portion of the monetary obligation(s) not paid in full prior to your
             release from custody shall be due in monthly installments of $ , such payments to begin         days following your release.

 F   □       Special instructions regarding the payment of criminal monetary penalties:




Unless the Court has expressly ordered otherwise, if this Judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons'
Inmate Financial Responsibility Program, are made to the clerk of the court.

You shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
□        Joint and Several
         Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
         and corresponding payee, if appropriate.

                                                                    )

 □       You shall pay the cost of prosecution.
 □       You shall pay the following court cost(s);
 □       You shall forfeit your interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
